            CASE 0:20-cr-00136-WMW-HB Doc. 65 Filed 10/16/20 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


    United States of America,                         Case No. 20-CR-136 (WMW/HB)

                        Plaintiff,

    v.                                                             ORDER

    Michael Eugene Hunter (2),


                        Defendant.



HILDY BOWBEER, United States Magistrate Judge

         This case is before the undersigned on the United States’ Motion for Discovery [Doc.

No. 28] and the non-dispositive pre-trial motions filed by Defendant Michael Hunter [Doc.

Nos. 35, 37, 38, 39, 40, 42, 43]. 1 The case was referred for resolution of pretrial matters

pursuant to 28 U.S.C. § 636 and District of Minnesota Local Rule 72.1. The Court held a

hearing on Thursday, October 15, 2020, at which point the Court took the non-dispositive

motions under advisement. 2 [Doc. No. 64.] The Court finds those motions appropriate for

summary disposition and will resolve them accordingly.

         Therefore, based on all the files, records, and proceedings herein, IT IS HEREBY


1
  During the hearing Defendant withdrew as moot two additional non-dispositive motions:
Defendant’s Motion to Disclose Post-Conspiracy Statements of Alleged Co-Conspirators
[Doc. No. 36] and Motion for Pretrial Determination of the Admissibility of Co-
Conspirator’s Statements [Doc. No. 44]. (See Oct. 15, 2020 Minute Entry [Doc. No. 64].)
Accordingly, the Court will not address those motions in this Order.
2
  Defendant’s dispositive motion [Doc. No. 41] is subject to a post-hearing briefing
schedule. It will be taken under advisement on October 23, 2020. The undersigned will
issue a Report and Recommendation in due course.
        CASE 0:20-cr-00136-WMW-HB Doc. 65 Filed 10/16/20 Page 2 of 3



ORDERED that:

     1. The Government’s Motion for Discovery [Doc. No. 28] is GRANTED to the

        extent the Government seeks discovery consistent with the Federal Rules of

        Criminal Procedure 16(b), 12.1, 12.2, 12.3, and 26.2.

     2. Defendant’s Pretrial Motions for Pretrial Disclosure of Rule 404(b) Evidence

        [Doc. No. 35] is GRANTED to the extent the motion seeks disclosure of

        information that is within the scope of Rule 404(b).

     3. Defendant’s Motion for Early Disclosures of Jencks Act Materials [Doc. No. 37]

        is DENIED. See United States v. White, 750 F.2d 726, 729 (8th Cir. 1984)

        (“Although in many cases the government freely discloses Jencks Act material to

        the defense in advance of trial, the government may not be required to do so.”).

     4. Defendant’s Motion for Disclosure of Government Witnesses [Doc. No. 38] is

        DENIED. The Government is not required to disclose its witnesses prior to trial.

        United States v. Miller, 698 F.3d 699, 704 (8th Cir. 2012); United States v.

        Altman, 507 F.3d 678, 680 (8th Cir. 2007); see also United State v. Ranallo, Case

        No. 18-CR-285 (JNE/TNL), 2019 WL 6975447, at *4 (D. Minn. Dec. 20, 2019)

        (“Moreover, Rule 404(b) does not require that the Government disclose directly

        or indirectly the names and addresses of its witnesses, something it is currently

        not required to do under Fed. R. Crim. P. 16.”) (quotations omitted). The

        Government represents that it does not yet know which witnesses it intends to call

        at trial, but will provide a potential witness list and information about any

        witness’s criminal record immediately before trial.

                                            2
         CASE 0:20-cr-00136-WMW-HB Doc. 65 Filed 10/16/20 Page 3 of 3



      5. Defendant’s Motion for Government Agents to Retain Rough Notes [Doc. No.

         39] is GRANTED as to retention and preservation only.

      6. Defendant’s Motion for Disclosure of Intention to Introduce Evidence of Other

         Crimes, Wrongs, or Acts of Defendant [Doc. No. 40] is GRANTED to the extent

         the motion seeks disclosure of information that is within the scope of Rule 404(b).

      7. Defendant’s Motion for Counsel’s Participation in Voir Dire [Doc. No. 42]

         DENIED without prejudice as a trial motion that should be made to and decided

         by the Honorable Wilhelmina M. Wright, United States District Judge.

      8. Defendant’s Motion to Compel Attorney for the Government to Disclose

         Evidence Favorable to the Defendant [Doc. No. 43] is GRANTED to the extent

         Defendant seeks disclosure of favorable evidence pursuant to Brady v. Maryland,

         373 U.S. 83 (1963), Giglio v. United States, 405 U.S. 150 (1972), and their

         progeny.




Dated: October 16, 2020
                                        s/ Hildy Bowbeer
                                        HILDY BOWBEER
                                        United States Magistrate Judge




                                            3
